                                            2021CV01018                                      e-Filed 4/30/2021 1:06 PM
       Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 1 of 16
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                                                                                                                 -
                                                                                                            Tiki Brown
                                                                                                  Clerk of State Court
                    IN THE STATE COURT OF CLAYTON COUNTY                                     c'avarcztang:
                               STATE OF GEORGIA

ANTWANDA VANDIVER,
    Plaintiff,

V.                                                    CIVIL ACTION FILE:

WALMART,INC.and
SAM'S EAST,INC.,                                          2021CV01018
     Defendants.
                                                      DEMAND JURY TRIAL



                                         COMPLAINT
       COMES NOW PLAINTIFF Antwanda Vandiver, and makes and files this complaint

against Defendant Walmart, Inc. as follows:

                               PARTIES AND JURISDICTION

                                                 1.

       PLAINTIFF Antwanda Vandiver resides at

     , and is subject to the jurisdiction of this court by virtue offiling this Complaint.

                                                2.

       DEFENDANT Walmart,Inc. is a is a foreign profit corporation existing under the laws of

Delaware with its principal place of business in Bentonville, Arizona and may be served through

its registered agent The Corporation Company(FL), 106 Colony Park Drive Ste. 800-B,Cumming,

Georgia 30040.

                                                3.

       DEFENDANT Sam's East, Inc. is a is a foreign profit corporation existing under the laws

ofDelaware with its principal place ofbusiness in Bentonville, Arizona and may be served through
                                             2021CV01018
         Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 2 of 16



its registered agent The Corporation Company(FL), 106 Colony Park Drive Ste. 800-B, Cumming,

Georgia 30040.

                                                 4.

         Due to Defendant's tortious conduct having occurred in the state of Georgia, Defendant is

subject to jurisdiction of this Court. Pursuant to 0.C.G.A. § 14-2-510(b)(3), due to Defendant the

tortious conduct occurring in Clayton County, GA,the Defendant maintaining an office in Clayton

County, Georgia and transacting business in this county, Defendant is subject to venue of this

Court.

                                                 5.

         Jurisdiction and venue are proper in this Court.

                                         BACKGROUND

                                                 6.

      On October 1, 2019, Defendants Walmart, Inc. and/or Sam's East, Inc., were owners and/or

controllers of Sam's Club located at 7325 Jonesboro Road, Morrow, Clayton County, Georgia

30260("the Store").

                                                 7.

         Defendants had exclusive ownership, possession and control over the Store at all times

relevant to this litigation.




                                                  2
         Case 1:21-cv-02136-LMM Document   1-2 Filed 05/21/21 Page 3 of 16
                                   2021CV01018




                                                   8.

         On October 1,2019,Plaintiff was an invitee at Defendants' Sam's Club store located at 7325

Jonesboro Road, Morrow, Clayton County, GA 30260.

                                                   9.

         While shopping at the Store, Plaintiff went to the deli section.

                                                   10.

         After Plaintiffreceived her food,Plaintiff turned and proceeded to walk towards a table.

                                                   11.

         As Plaintiffturned to walk towards the table, Plaintiffslipped and fell on soda that was on the

floor.

                                                   12.

         As a result of slipping on the soda, Plaintiff suffered bodily injuries that required medical

attention.

                                 COUNT I - PREMISES LIABILITY

                                                   13.

         Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

12 above as if fully restated.

                                                   14.

         Plaintiff was an invitee on the premises ofthe Store at the time of her slipping on the soda.




                                                    3
a•,•'                                               2021CV01018
                 Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 4 of 16



                                                        15.

                Defendants owed a duty to business invitees, such as Plaintiff, to exercise ordinary care in

        keeping the premise safe, which included a duty to maintain the premises in a condition that is

        reasonably safe for use and a duty to inspect the premises for defects, hazardous, and unsafe

        conditions.

                                                        16.

                Defendants were negligent in failing to properly inspect the area where Plaintiff fell, in

        failing to remove the hazardous condition, in failing to take adequate measures to protect Plaintiff

        from the hazardous condition and in failing to keep the premises safe for Plaintiff

                                                        17.

                Defendants had a duty to warn Plaintiff of the dangerous and unsafe condition which led

        Plaintiff to fall..

                                                        18.

                Defendants were negligent in failing to properly warn Plaintiffofthe dangerous and unsafe

        condition.

                                                        19.

              As a direct and proximate result of Defendants' breach of duties, Plaintiff suffered injuries.

        Plaintiffincurred special and general damages, including medical and other necessary expenses,

        mental and physical pain and suffering due to injuries to her body, personal inconvenience, plus

        an inability to lead a normal life.




                                                         4.-
                                            2021CV01018
        Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 5 of 16



                             COUNT II- VICARIOUS LIABILITY

                                                20.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

19 above as if fully restated.

                                                21.

        At all times relevant to this action, the individuals responsible for inspecting and

maintaining the area where Plaintiff fell were employed by Defendants and were acting within the

scope of their employment.

                                                22.

       Defendants are responsible for the conduct of these individuals under the doctrine of

respondeat superior, agency or apparent agency.

                 COUNT III- NEGLIGENT TRAINING & SUPERVISION

                                                23.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

22 above as if fully restated.

                                                24.

       Defendant were negligent in failing to adopt appropriate policies and procedures to make

sure that appropriate inspections and maintenance were performed on the premises and in failing

to train its employees concerning safety procedures for inspecting and maintaining the premises.

                                                25.

       Defendant were negligent in training and supervising its staff.



                                                 5
       Case 1:21-cv-02136-LMM Document   1-2 Filed 05/21/21 Page 6 of 16
                                 2021CV01018




                                                 26.

       As a direct and proximate result of Defendants' breaches of duty, Plaintiff suffered

injuries. Plaintiff incurred special and general damages, including medical and other necessary

expenses, mental and physical pain and suffering due to injuries to her body, personal

inconvenience, plus an inability to lead a normal life.



       WHEREFORE, Plaintiff prays that she has a trial on all issues and judgment against

defendant as follows:

      (a)      That Plaintiff recover the full value of past and future medical expenses in an

amount to be proven at trial;

      (b)      That Plaintiff recover for mental and physical pain and suffering and emotional

distress, personal inconvenience and inability to lead a normal life in an amount to be determined

by the enlightened conscience of the jury;

      (c)      That Plaintiff recover such other and further relief as is just and proper;

      (d)      That all triable issues be tried before a jury.



       This 29th day of April 2021.




                                                  6
       Case 1:21-cv-02136-LMM Document   1-2 Filed 05/21/21 Page 7 of 16
                                 2021CV01018




                                       Respectfully Submitted,

                                       THE LEE FIRM OF GEORGIA,LLC


                                       /s/ DeMone Lee


                                       DeMone Lee
                                       Georgia Bar No. 507119
                                       Attorney for Plaintiff



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       Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 8 of 16




                IN THE STATE COURT OF CLAYTON COUNTY
                           STATE OF GEORGIA

ANTWANDA VANDIVER,                                     Civil Action File No.
                                                       2021CV01018
             Plaintiff,
v.

WALMART, INC. AND SAM'S EAST, INC.,

             Defendants.
                             /

                           ANSWER OF DEFENDANTS

      COME NOW, Defendants WALMART, INC. (erroneously named) and SAM'S

EAST, INC. and make this Answer to Plaintiff's Complaint as follows:

                                  FIRST DEFENSE

      Walmart, Inc. is not a proper defendant.

                                 SECOND DEFENSE

      Jurisdiction is not proper as to Walmart, Inc.

                                 THIRD DEFENSE

      Venue is not proper as to Walmart, Inc.

                                 FOURTH DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendants upon which

relief can be granted.




                                                                        Page -1-
       Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 9 of 16




                                 FIFTH DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 SIXTH DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendants.

                               SEVENTH DEFENSE

      Defendants deny that they were negligent in any manner whatsoever or that

any negligent act or omission on their part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                EIGHTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendants.

                                 NINTH DEFENSE

      Defendants respond to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                          1.

      Defendants lack sufficient information to either admit or deny the allegations



                                                                             Page -2-
      Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 10 of 16




contained in paragraph 1 of the Plaintiff's Complaint.

                                         2.

      Defendants admit the allegations contained in paragraph 2 of Plaintiff's

Complaint, but Walmart, Inc. is not the proper Defendant. Further, Defendant’s

principal place of business is in Arkansas.

                                         3.

      Defendants admit the allegations contained in paragraph 3 of the Plaintiff's

Complaint, but shows that its principal place of business is in Arkansas.

                                         4.

      Defendants deny the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                         5.

      Defendants deny the allegations contained in paragraph 5 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District

Court, Northern District of Georgia, Atlanta Division.

                                         6.

      Defendants admit only that Sam's East, Inc. operated the subject Club.

Defendants deny the remaining allegations contained in paragraph 6 of the

Plaintiff's Complaint.



                                                                            Page -3-
      Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 11 of 16




                                        7.

      Defendants admit only that Sam's East, Inc. operated the subject Club.

Defendants deny the remaining allegations contained in paragraph 7 of the

Plaintiff's Complaint.

                                        8.

      Defendants lack sufficient information to either admit or deny the allegations

contained in paragraph 8 of the Plaintiff's Complaint. Plaintiff was not an invitee

of Walmart, Inc.

                                        9.

      Defendants lack sufficient information to either admit or deny the allegations

contained in paragraph 9 of the Plaintiff's Complaint.

                                        10.

      Defendants lack sufficient information to either admit or deny the allegations

contained in paragraph 10 of the Plaintiff's Complaint.

                                        11.

      Defendants deny the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                        12.

      Defendants deny the allegations contained in paragraph 12 of the Plaintiff's



                                                                           Page -4-
      Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 12 of 16




Complaint.



                                        13.

      Defendants reallege and incorporate herein the answers contained in

paragraphs 1 through 12 above as if fully restated.

                                        14.

      Defendants deny the allegations contained in paragraph 14 of the Plaintiff's

Complaint, as stated.

                                        15.

      Defendants deny the allegations contained in paragraph 15 of the Plaintiff's

Complaint, as stated. The applicable statute and case law speak for themselves.

                                        16.

      Defendants deny the allegations contained in paragraph 16 of the Plaintiff's

Complaint.

                                        17.

      Defendants deny the allegations contained in paragraph 17 of the Plaintiff's

Complaint, as stated.

                                        18.

      Defendants deny the allegations contained in paragraph 18 of the Plaintiff's



                                                                         Page -5-
      Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 13 of 16




Complaint.



                                        19.

      Defendants deny the allegations contained in paragraph 19 of the Plaintiff's

Complaint.

                                        20.

      Defendants reallege and incorporate herein the answers contained in

paragraphs 1 through 19 above as if fully restated.

                                        21.

      Defendants deny the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                        22.

      Defendants deny the allegations contained in paragraph 22 of the Plaintiff's

Complaint.

                                        23.

      Defendants reallege and incorporate herein the answers contained in

paragraphs 1 through 22 above as if fully restated.

                                        24.

      Defendants deny the allegations contained in paragraph 24 of the Plaintiff's



                                                                         Page -6-
       Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 14 of 16




Complaint.



                                         25.

      Defendants deny the allegations contained in paragraph 25 of the Plaintiff's

Complaint.

                                         26.

      Defendants deny the allegations contained in paragraph 26 of the Plaintiff's

Complaint.

                                         27.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         28.

      Defendant denies Plaintiff's prayer for relief, including subparagraphs (a), (b),

(c), and (d) thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.




                                                                              Page -7-
     Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 15 of 16




                                  McLAIN & MERRITT, P.C.



                                  /s/ Howard M. Lessinger
                                  Howard M. Lessinger
                                  Georgia Bar No. 447088



                                   /s/ Jennie Rogers
                                  Jennie Rogers
                                  Georgia Bar No. 612725
                                  Attorneys for Defendants
                                  WALMART, INC.
                                  SAM'S EAST, INC.

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                                                                   Page -8-
     Case 1:21-cv-02136-LMM Document 1-2 Filed 05/21/21 Page 16 of 16




                          CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WALMART, INC. AND SAM'S EAST, INC. has this day been filed

and served upon opposing counsel via Odyssey eFileGA.

     This the   21st   day of May, 2021.

                                     McLAIN & MERRITT, P.C.



                                     /s/ Howard M. Lessinger
                                     Howard M. Lessinger
                                     Georgia Bar No. 447088
                                     Attorney for Defendants
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                                                                   Page -9-
